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27   DRIFTWOOD ACQUISITIONS AND
28   DEVELOPMENT LP; DRIFTWOOD

                                                           STIPULATION OF DISMISSAL RE:
                                                    SAN DIEGO MARRIOTT MISSION VALLEY
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 1   HOSPITALITY MANAGEMENT, LLC;
 2   PINECREST HOTEL LLC; CANAL STREET LODGING LLC;
     and SEATTLE UNION STREET
 3   ASSOCIATES LLP
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12                        UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15   GREETINGS TOUR INC., a California          Case No.: 2:21-cv-09336-FLA-PLA
     Corporation,
16                                              Assigned to Hon. Fernando L. Aenlle-
                 Plaintiff,                     Rocha
17
           v.                                   STIPULATION OF DISMISSAL
18                                              OF CLAIMS RELATING TO
     MARRIOTT INTERNATIONAL,                    THE SAN DIEGO MARRIOTT
19   INC., a Delaware Corporation, et al.       MISSION VALLEY HOTEL,
                                                INCLUDING DISMISSAL WITH
20                                              PREJUDICE OF ALL CLAIMS
                 Defendants.                    AGAINST DEFENDANTS
21                                              DRIFTWOOD HOSPITALITY
                                                MANAGEMENT, LLC, AND
22                                              DRIFTWOOD ACQUISITIONS
                                                AND DEVELOPMENT LP
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                                                            STIPULATION OF DISMISSAL RE:
                                                     SAN DIEGO MARRIOTT MISSION VALLEY
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 1         Plaintiff Greetings Tour Inc. (“Plaintiff”) and Defendants Marriott International
 2   Inc., Driftwood Acquisitions and Development LP, Driftwood Hospitality
 3   Management, LLC, Pinecrest Hotel LLC, 101 El Paso Street, LP, Canal Street Lodging
 4   LLC, and Seattle Union Street Associates LLP (collectively, “Defendants”), hereby
 5   stipulate and agree as follows:
 6         1.     Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and
 7   Defendants hereby stipulate and agree to the dismissal with prejudice from this action
 8   of Defendants Driftwood Hospitality Management, LLC and Driftwood Acquisitions
 9   and Development LP (“San Diego Marriott Mission Valley Defendants”), including
10   the immediate dismissal with prejudice of all claims and alleged causes of action that
11   have been brought against each of the San Diego Marriott Mission Valley Defendants.
12   Plaintiff and the San Diego Marriott Mission Valley Defendants shall each bear their
13   own respective attorneys’ fees and costs; and
14         2.     Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and
15   Defendants further stipulate and agree to the immediate dismissal with prejudice of
16   all claims that Plaintiff asserted in its Corrected Second Amended Complaint (“SAC”)
17   relating to the hotel property known as the San Diego Marriott Mission Valley hotel,
18   located at 8767 Rio San Diego Dr., San Diego, CA 92108, including all claims,
19   allegations, and parts of alleged causes of action regarding or arising from the social
20   media post bearing the username “sdmarriottmv,” which was reproduced in Exhibit
21   A to the SAC, see Dkt. No. 107-1 at 10 (“San Diego Marriott Mission Valley Post”).
22   More specifically, Plaintiff and Defendants agree and stipulate to the immediate
23   dismissal with prejudice of all claims and parts of alleged causes of action in the SAC
24   regarding or arising from the San Diego Marriott Mission Valley Post that were
25   asserted against Marriott International, Inc., or any other defendant, including all such
26   claims for direct copyright infringement, contributory copyright infringement,
27   vicarious copyright infringement, and removal of copyright management information
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                                                                STIPULATION OF DISMISSAL RE:
                                                         SAN DIEGO MARRIOTT MISSION VALLEY
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 1   in alleged violation of the Digital Millennium Copyright Act (17 U.S.C. § 1202(b)),
 2   regarding or arising from the San Diego Marriott Mission Valley Post.
 3   Dated: March 2, 2023                 VIVEK JAYARAM
 4                                        PALAK V. PATEL
                                          JAYARAM LAW, INC.
 5
 6                                        ALEXANDER M. KARGHER
                                          SINCLAIR BRAUN LLP
 7
                                          By:     /s/ Vivek Jayaram
 8                                              Vivek Jayaram
 9                                              Attorneys for Plaintiff
                                                GREETINGS TOUR INC.
10
11   Dated: March 2, 2023                 SAUL D. BRENNER
12                                        ADAM G. KELLY (Pro Hac)
                                          KYLE PETERSEN
13                                        LOEB & LOEB LLP
14
                                          By:   /s/ Kyle Petersen
15                                           KYLE PETERSEN
16                                           Attorneys for Defendants
                                             MARRIOTT INTERNATIONAL, INC.;
17                                           DRIFTWOOD ACQUISITIONS AND
18                                           DEVELOPMENT LP; DRIFTWOOD
                                             HOSPITALITY MANAGEMENT, LLC;
19                                           PINECREST HOTEL LLC; CANAL
20                                           STREET LODGING LLC; AND
                                             SEATTLE UNION STREET
21                                           ASSOCIATES LLP
22
     Dated: March 2, 2023                 KIMBERLY D. HOWATT
23                                        GORDON REES SCULLY MANSUKHANI
24                                        LLP

25                                        By:   /s/ Kimberly D. Howatt
26                                            KIMBERLY D. HOWATT
                                             Attorneys for Defendant
27                                           101 EL PASO STREET, LP
28
                                             2
                                                              STIPULATION OF DISMISSAL RE:
                                                       SAN DIEGO MARRIOTT MISSION VALLEY
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 1                           ATTESTATION OF SIGNATURE
 2          I, Vivek Jayaram, am the ECF User whose ID and Password were used to
 3    electronically file this STIPULATION OF DISMISSAL OF CLAIMS RELATING
 4    TO THE SAN DIEGO MARRIOTT MISSION VALLEY HOTEL, INCLUDING
 5    DISMISSAL WITH PREJUDICE OF ALL CLAIMS AGAINST DEFENDANTS
 6    DRIFTWOOD HOSPITALITY MANAGEMENT, LLC and DRIFTWOOD
 7    ACQUISITIONS AND DEVELOPMENT LP. Pursuant to Central District of
 8    California Local Rule 5-4.3.4(a)(2), I hereby attest that all other signatories listed,
 9    and on whose behalf this filing is submitted, concur in the content of this filing,
10    and have authorized the electronic filing thereof.
11
                                                     /s/ Vivek Jayaram
12
                                                     Vivek Jayaram
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                                                 3
                                                                STIPULATION OF DISMISSAL RE:
                                                         SAN DIEGO MARRIOTT MISSION VALLEY
